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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THEOPHALIS (BINKY) WILSON                      :
            v.                                  :             CIVIL ACTION
 CITY OF PHILADELPHIA,                          :
 PENNSYLVANIA; FORMER DISTRICT                  :             NO. 21-cv-2057-JMY
 ATTORNEY LYNNE ABRAHAM;                        :
 FORMER ASSISTANT DISTRICT                      :
 ATTORNEY DAVID DESIDERIO, ETAL                 :



                                           ORDER

       AND NOW, this 19th day of January, 2022, upon consideration of Plaintiff’s Motion and

Supporting Memorandum for Leave to File an Amended Complaint (ECF #35) under FRCP 15,

it is hereby ORDERED that the Motion is granted. Plaintiff may file his First Amended Complaint

attached as Exhibit A to the motion.

       Having granted Plaintiff’s Motion, it is Further ORDERED that Plaintiff’s prior Motion

for Leave (ECF #34) is DENIED as moot


                                                    BY THE COURT:



                                                     /s/ John Milton Younge
                                                    JUDGE JOHN MILTON YOUNGE
